Case 2:04-cv-09049-DOC-RNB Document 4316-9 Filed 09/30/08 Page 1 of 6 Page ID
                                #:110064
Case 2:04-cv-09049-DOC-RNB Document 4316-9 Filed 09/30/08 Page 2 of 6 Page ID
                                #:110065
Case 2:04-cv-09049-DOC-RNB Document 4316-9 Filed 09/30/08 Page 3 of 6 Page ID
                                #:110066
Case 2:04-cv-09049-DOC-RNB Document 4316-9 Filed 09/30/08 Page 4 of 6 Page ID
                                #:110067
Case 2:04-cv-09049-DOC-RNB Document 4316-9 Filed 09/30/08 Page 5 of 6 Page ID
                                #:110068
Case 2:04-cv-09049-DOC-RNB Document 4316-9 Filed 09/30/08 Page 6 of 6 Page ID
                                #:110069
